           Case: 1:15-cv-03747 Document #: 180 Filed: 08/22/17 Page 1 of 1 PageID #:1013




                                        MEMORANDUM OF JUDGMENT

                                  IN THE UNITED STATES DISTRICT COURT
                                FOR THE NOTRHTERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

                                          )
YOUNG CHOL KIM                            )
                               Plaintiff, )             No: 15-CV-03747
                 Vs.                      )
                                          )             Magistrate Judge Sheila M. Finnegan
HAKUYA SUSHI, INC. AND CHUL KIM           )
                                          )
                             Defendants )

THIS DOCUMENT PREPARED BY:

Name:           Inseed Law, P.C.
Attorney for:   Plaintiff
Address:        2454 E. Dempster St. Ste 301
City:           Des Plaines, IL 60016
Telephone:      847-905-6262


Judgment rendered AGAINST:
Hakuya Sushi, Inc. and Chul Y. Kim
161 Dundee Road, Buffalo Grove, IL

Judgment rendered: $67,455.28 plus cost of collection, accrued post judgment interest and fees.
In favor of:
Young Chol Kim
C/O Inseed Law, P.C. 2454 E Dempster St. Ste 301, Des Plaines, IL 60016

Court Case No.: 15-cv-03747

                                                                    SIGNED: August 22, 2017.


                                                                                                  .
                                                                    Judge Sheila Finnegan

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